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                       johnny.lundie@eeoc.gov
                       timothy.bowne@eeoc.gov

52. Any notices for Imperial Trading Co., LLC will be sent to:


         steve.spalitta@imperialtrading.com
         tjmcgoey@liskow.com

53.   The EEOC may, from time to time, designate others to receive notices, reports, and

information under this Decree.


                                      EMPLOYEE NOTICE

54. Imperial Trading Co., LLC must post a Notice to Employees-attached hereto as Exhibit A­

on its premises within ten (10) days of the entry of this Decree. The Notice to Employees must be

posted conspicuously where other notices to applicants and employees are customarily posted. It

must remain there for at least three (3) years from the entry of this Decree. The Liaison must

ensure that this obligation is met.




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